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                                   UNITED STATES JUDICIAL PANEL
                                                                                               FILED
                                                on                                               Aug 29 2023
                                    MULTIDISTRICT LITIGATION
                                                                                                Mark B. Busby
                                                                                          CLERK, U.S. DISTRICT COURT
                                                                                       NORTHERN DISTRICT OF CALIFORNIA
                                                                                                   OAKLAND
IN RE: SOCIAL MEDIA ADOLESCENT
ADDICTION/PERSONAL INJURY PRODUCTS
LIABILITY LITIGATION                                                                             MDL No. 3047



                                       (SEE ATTACHED SCHEDULE)



                            CONDITIONAL TRANSFER ORDER (CTO −16)



On October 6, 2022, the Panel transferred 20 civil action(s) to the United States District Court for the
Northern District of California for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. §
1407. See _F.Supp.3d_ (J.P.M.L. 2022). Since that time, 97 additional action(s) have been transferred to the
Northern District of California. With the consent of that court, all such actions have been assigned to the
Honorable Yvonne Gonzalez Rogers.

It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
actions previously transferred to the Northern District of California and assigned to Judge Rogers.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict Litigation,
the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the Northern District of
California for the reasons stated in the order of October 6, 2022, and, with the consent of that court, assigned
to the Honorable Yvonne Gonzalez Rogers.
This order does not become effective until it is filed in the Office of the Clerk of the United States District
Court for the Northern District of California. The transmittal of this order to said Clerk shall be stayed 7 days
from the entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this 7−day
period, the stay will be continued until further order of the Panel.



                                                           FOR THE PANEL:

   Aug 29, 2023

                                                           Tiffaney D. Pete
                                                           Clerk of the Panel
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IN RE: SOCIAL MEDIA ADOLESCENT
ADDICTION/PERSONAL INJURY PRODUCTS
LIABILITY LITIGATION                                                           MDL No. 3047



                  SCHEDULE CTO−16 − TAG−ALONG ACTIONS



  DIST    DIV.        C.A.NO.    CASE CAPTION


PENNSYLVANIA MIDDLE

  PAM      3       23−01264      Crestwood School District v. Meta Platforms, Inc. et al
  PAM      3       23−01265      Hazleton Area School District v. Meta Platforms, Inc. et al
  PAM      3       23−01268      Hanover Area School District v. Meta Platforms, Inc. et al
  PAM      3       23−01269      North Pocono School District v. Meta Platforms, Inc. et al
  PAM      3       23−01283      Luzerne County et al v. Meta Platforms, Inc. et al
  PAM      3       23−01310      Wyoming County et al v. Meta Platforms, Inc. et al
